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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-cr-20191-KMW

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  ANDREW ALTURO FAHIE,

           Defendant.

  __________________________________/

                                      NOTICE OF APPEAL

         Defendant, ANDREW ALTURO FAHIE, by and through his undersigned counsel, hereby

  files this Notice of Appeal of the Judgment and Sentence imposed in this case.

                                                      Respectfully submitted,

                                                      RICHARD F. DELLA FERA, P.A.
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                                                      Fort Lauderdale, FL 33394
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                                                      By:    /s/ Richard F. Della Fera
                                                             RICHARD F. DELLA FERA
                                                             Fl. Bar No. 66710




                               CERTIFICATE OF SERVICE
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         I HEREBY CERTIFY that on September 20, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM ECF. I also certify that the foregoing document is

  being served this day on all counsel of record or pro se parties identified on the service list below

  in the manner specified, either via transmission of Notices of Electronic Filing generated by CM

  ECF or in some other authorized manner for those counsel or parties who are not authorized to

  receive electronic Notices of Electronic Filing and by U.S. Mail to Andrew Alturo Fahie, Reg No.

  07491-506, FCI Tallahassee, P.O. Box 5000, Tallahassee, FL 32314.

         :


                                                        By:      /s/ Richard F. Della Fera
                                                                RICHARD F. DELLA FERA
